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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

                                      Holding a Criminal Term
                                 Grand Jury Sworn in on May 7,2019

UNITED STATES OF AⅣ IERICA                                Cril■ inal No。


                        v.

DEALLTO MCQUIL KEY DAVIS,                                 Violation: 18 U.S.C. $ 401(3)
also known as "DALTO KEY,"

                 Defendant.




                                        INDICTMENT

         The Grand Jury charges that:

                                        BACKGROUND

                                         The Defendant

         l.      On or about January 28,2019, the defendant, Deallto McQuil Key Davis, also

known as "Dalto Key" (Defendant Davis), was charged via Criminal Complaint in United States

District Court for the District of Columbia with committing a criminal offense in case number

1   :19-mj-00019-DAR.

                              Defendant Davis's Release Conditions

         2.      On or about March 8, 2019, Chief Judge Beryl A. Howell of the United States

District Court for the District of Columbia issued an order setting conditions of release for

Defendant Davis (the Release Order). One of the conditions of the Release Order was that

Defendant Davis "must not violate federal, state, or local law while on release." The Release

Order also required Defendant Davis to obtain court approval before traveling outside of the

District of Columbia area.
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          3.      The Release Order advised Defendant Davis that the penalties and sanctions for

violating any ofhis release conditions included "a prosecution for contempt ofcourt."

         4.      The Release Order contained             a   section entitled "Acknowledgement   of   the

Defendant." The Defendant signed his name below the following Acknowledgement:

         I acknowledge that I am the defendant in this case and that I am aware of the
         conditions ofrelease. I promise to obey all conditions ofrelease . . . . I am aware
         of the penalties and sanctions set forth above.

         5.      On or about June 6, 2019, Magistrate Judge Robin M. Meriweather of the United

States   District Court for the District of Columbia issued an amended "Order Setting Conditions of

Release" (the Amended Released Order).

         6.      The Amended Release Order also included the condition that Defendant Davis

"must not violate federal, state, or local law while on release." The Amended Release Order

contained the same "Acknowledgement ofthe Defendant" as the Release Order. Defendant Davis

signed his name on the Amended Release Order acknowledging that he was aware of his release

conditions and the penalties and sanctions for violating any ofthose conditions.

          Defendant Davis's Motion to Modi$ Release Conditions to Travel to Florida

         7.      On or about June 26,2019, Defendant Davis filed a motion to temporarily modifu

his conditions ofrelease so that he could travel to Hollywood, Florida, to vacation with his mother.

         8.      In his motion, Defendant Davis stated that he ..and his mother cunently            have

Amtrak tickets scheduling [sic] to leave Union Station at 7:25 p.m. on July 2,2019 and arriving at

the Fort Lauderdale stop on July 3,2019 at a scheduled arrival time of 7:30       p.M. Mr. Davis and

his mother are scheduled to leave July   61h   at 9:00   A.M. arriving in washington D.c. on July   7rh at

a scheduled arrival time   of 10:00 A.M."
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        9.        Defendant Davis's motion was granted on or about July 1, 2019.

             Defendant Davis's Use of the Name 6(Dalto Key" to Travel on Amtrak

        10.       On or about September 3,2019, the United States filed a pleading informing the

United States District Court for the District of Columbia that Amtrak had no record of any

reservations made in the names       of "Deallto Davis" or his mother for the dates specified in
Defendant Davis's motion to temporarily modify his conditions of release.

        1   1.    On or about September 12,2079, Defendant Davis filed a response to the pleading.

Defendant Davis stated that he had traveled on Amtrak using the name "Dalto        Key." As part of
the response, Defendant Davis attached an Amtrak boarding pass in the names of "Dalto Key" and

"Suave Christian" for travel on July 2,2019, from Washington, D.C., to Miami, Florida; and an

Amtrak boarding pass in the names of "Dalto Key" and "Dujuan Darris" for travel on July 7,2019,

from Miami, Florida, to Washington, D.C.

                            The Citibank Credit Card Account Holders

        12.       Citibank, also known as "Citi," was a hnancial institution within the meaning   of
l8 U.S.C. $ 20. Citibank's    deposits were insured by the Federal Deposit Insurance Corporation.

        13.       J.C. had a Citibank credit card account. J.C. did not know Defendant Davis and

never authorized Defendant Davis or anyone else to use his Citibank credit card to purchase

Amtrak tickets.

       14.        Ⅳl.L.had a Citibank credit card account. Ⅳl.L.did not know Defendant Davis and

ncver authorized Defcndant Davis or anyone elsc to use hcr Citibank crcdit card tO purchase

Amtrak tickets.




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   The Unauthorized Use of J.C.'s and M.L.'s Credit Cards to Purchase Amtrak Tickets

       15.     On or about July 2, 2079, J.C.'s Citibank credit card was used without his

authorization to purchase Amtrak tickets in the names of "Dalto Key" and "Suave Christian" for

travel from Washington, D.C., to Miami, Florida. The total cost of the tickets was $1,375.

       16.     On or about July 2, 2019, J.C.'s Citibank credit card was used without his

authorization to purchase Amtrak tickets in the names of "Dujuan Darris" and "Bear Remy" for

travel from Washington, D.C., to Miami, Florida. The total cost of the tickets was $1,203.

       17.     On or about July 7,2019, M.L.'s Citibank credit card was used without her

authorization to purchase Amtrak tickets in the names of "Dalto Key" and "Dujuan Darris" for

travel from Miami, Florida, to Washington, D.C. The total cost of the tickets was $1,535.

       18.     On or about July 8, 2019, J.C.'s Citibank credit card was used without his

authorization to purchase Amtrak tickets in the rurmes of "Dalto Key" and "Ashley Key" for

roundtrip travel from Washington, D.C., to New York, New            York. The total cost of the tickets
was $1,072.

       19.     On or about July 8, 2019, J.C.'s Citibank credit card was used without his

authorization to purchase an Amtrak ticket in the name of "Jason Key" for travel from Washington,

D.C., to New York, New        York.   The total cost of the ticket was $234.

       20.     On or about July 9, 2019, J.C.'s Citibank credit card was used without his

authorization to purchase an Amtrak ticket in the name of "Jason Key" for travel from New York,

New York, to Washington, D.C. The total cost of the ticket was $156.

    Federal and Local Offenses Violated by Defendant Davis While on Pretrial Release

       21.     It was   a   violation of the federal Bank Fraud statute, at Title 18, United States Code,

Section 1344(2), for a person to knowingly execute, or attempt to execute, a scheme or artifice to



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obtain any of the moneys, funds, credits, assets, securities, or other property owned by, or under

the custody or control of, a financial institution, by means of false or fraudulent pretenses,

representations, or promises.

          22.    Defendant Davis violated the federal Bank Fraud statute by participating        in   a

scheme and artifice to obtain any of the moneys, funds, credits, assets, and other property owned

by, and under the custody and control of Citibank by means of materially false and fraudulent

pretenses, representations, and promises.

         23.     It was a violation of the District of Columbia Credit Card Fraud statute, atTitle22,

D.C. Code, Section 3223(b)(2), for a person, with the intent to defraud, to obtain or pay for

property or services by knowingly using a credit card, or the number or description thereof, which

has been issued to another person without the consent of the person to whom     it was issued.

         24.     Defendant Davis violated the District of Columbia Credit Card Fraud statute by,

with intent to defraud, obtaining and paying for property and services belonging to Amtrak,

consisting of Amtrak tickets, by knowingly using credit cards issued to J.C. and M.L., and the

number and description thereof, without the consent of J.C. and M.L.

                                COUNTS ONE THROUGH SEVEN
                                        (Contempt)

         25.     On or about the following dates, Defendant Davis willfully disobeyed and resisted

a   lawful order and command of the United States District Court for the District of Columbia, that

being the condition in the Release Order and Amended Release Order that Defendant Davis not

violate federal, state, or local law:



 Count       Date(s)                              Violation of Law
 Onc         July 2,2019,through July 9,2019      Bank Fraud; l8 U.S.C. S 1344(2)
                                                  Credit Card Fraud;D.C.Codc§ 22‑3223(b)(2)
 Two         July 2,2019                          (purChasc Of▲ mtrak tiCkets for Sl,375)

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Count   Date(s)                          Violation of Law
                                         Credit Card Fraud;D.C.Codc§ 22‑3223(b)(2)
Three   July 2,2019                      壺 里 塾 堅 型 fAmtrak tickets fOr Sl,203)
                                         Credit Card Fraud;DoC.Code§ 22‑3223(b)(2)
Four    Julv 7.2019                      (purChase OfAmtrak tickets for$1,535)
                                         Credit Card Fraud;D.C.Code§ 22‑3223(b)(2)
Five    July 8,2019                      (purChasc OfAmtrak tickets for$1,072)
                                         Credit Card Fraud;D.C.Code§ 22‑3223(b)(2)
S破      Julv 8,2019                      (purChase OfAmtrak ticket fOr S234)
                                         Credit Card Fraud;D.C.Codc§ 22‑3223(b)(2)
Seven   July 9,2019                      (purChase OfAmtrak ticket for S156)

         (COntempt,pursuant to Title 18,United States Code,Section 401(3))


                                                    A TRUE BILL:



                                                    FOREPERSON



              Y FOR THE UN17ED STATES
        AND FOR THE DISTRICT OF COLUMBIA




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